




 











&nbsp;

IN THE

TENTH COURT OF APPEALS




 
  
 
 
  
  
 


&nbsp;



Nos. 10-05-00161-CR, 10-05-00162-CR

&amp; 10-05-00163-CR

&nbsp;

Otis Gene Garrett,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

&nbsp;v.

&nbsp;

The State of Texas,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

&nbsp;

&nbsp;

&nbsp;



From the Criminal District Court
No. 2

Tarrant County, Texas

Trial Court Nos. 0905526D,
0913133D &amp; 0914668D

&nbsp;



MEMORANDUM&nbsp; Opinion



&nbsp;








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Otis Gene Garrett pleaded guilty
without the benefit of a plea bargain to two charges of aggravated sexual
assault of a child and one charge of possession of child pornography.&nbsp; The
court sentenced Garrett to sixty years’ imprisonment on each of the aggravated
sexual assault charges and ten years’ imprisonment on the child pornography
charge.&nbsp; Garrett contends in his sole point that the court abused its
discretion by allowing his motion for new trial in each case to be overruled by
operation of law.&nbsp; We will affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The court imposed sentence on February
25, 2005.&nbsp; Twenty days later, Garrett’s counsel filed in each case a motion to
detain Garrett at the county jail (i.e., to not transfer Garrett to
prison) until a hearing was held on Garrett’s anticipated motion for new trial
or until the deadline for filing such a motion had passed.&nbsp; The court did not
rule on the motions to detain.&nbsp; Garrett filed his motions for new trial on
March 23.&nbsp; These motions were overruled by operation of law.&nbsp; See Tex. R. App. P. 21.8.

There is nothing in the record to indicate that
Garrett presented the motions for new trial to the court.&nbsp; Thus, he has not
preserved his complaint for appellate review.&nbsp; See Rozell v. State, 176
S.W.3d 228, 230-31 (Tex. Crim. App. 2005); Cozzi v. State, 160 S.W.3d 638,
640-41 (Tex. App.—Fort Worth 2005, pet. ref’d).&nbsp; Accordingly, we overrule his
sole point and affirm the judgments.

&nbsp;

FELIPE REYNA

Justice

Before Chief Justice
Gray,

Justice
Vance, and

Justice
Reyna

Affirmed

Opinion delivered and
filed March 15, 2006

Do not publish

[CR25]

&nbsp;






summary-judgment evidence
that “there is no genuine issue as to any material fact and the moving party is entitled to judgment
as a matter of law on the issues expressly set out in the motion.”  Tex. R. Civ. P. 166a(c); e.g.,
Nixon v. Mr. Property Management Co., 690 S.W.2d 546, 548 (Tex. 1985); Delta Air Lines, Inc.
v. Norris, 949 S.W.2d 422, 425 (Tex. App.—Waco 1997, writ denied).  The trial court did not
state the specific grounds for granting the motion, and therefore our review is for whether any of
Continental’s theories are correct.  Star-Telegram, Inc. v. Doe, 915 S.W.2d 471, 473 (Tex. 1995).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have reviewed the record and find that it supports the trial court’s ruling.  We affirm the
judgment.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Before Chief Justice Davis,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Vance, and
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Gray
Affirmed
Opinion delivered and filed April 17, 2002
Do not publish
[CV06]


